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                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF CONNECTICUT

OPEN COMMUNITIES ALLIANCE and                :
SOUTHCOAST FAIR HOUSING                      :
                                             :
                 Plaintiffs,                 :
                                             :
        v.                                   :              Civil No. 3:20CV1587 (JBA)
                                             :
UNITED STATES DEPARTMENT                     :
OF HOUSING AND URBAN                         :
                                           1
DEVELOPMENT and MATT AMMON, :
in his official capacity as Acting Secretary :
of Housing and Urban Development             :              February 10, 2021
                                             :
                 Defendants.                 :


         DEFENDANTS’ MOTION FOR 60-DAY STAY OF PROCEEDINGS PENDING
                          ADMINISTRATIVE REVIEW

         Defendants request a stay of proceedings while HUD reconsiders the rule that Plaintiffs

challenge in this case. The rule at issue has been stayed by another court and Defendants do not

seek to lift that stay. The President has issued a memorandum directing HUD to review the

specific rule that Plaintiffs challenge, and Defendants have begun that administrative review but

require additional time to complete the process and determine next steps. As a result, this Court

may not have to decide Plaintiffs’ claims, and Plaintiffs will not be prejudiced in the meantime.

It therefore makes little sense to proceed with litigation at this time, and principles of judicial

economy favor a stay.

    I.       BACKGROUND




1
 Pursuant to Fed. R. Civ. Pro. 25(d), the current Acting Secretary of HUD, Matt Ammon, is automatically
substituted for former Secretary Ben Carson.
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       On October 22, 2020, Plaintiffs filed the Complaint, which challenges Defendants’

issuance of a final rule, HUD’s Implementation of the Fair Housing Act’s Disparate Treatment

Standard, 85 Fed. Reg. 60288 (Sept. 24, 2020) (“2020 Rule”), under the Administrative

Procedure Act, 5 U.S.C. §§ 701, et seq. Plaintiffs served Defendants with the Complaint in the

instant action on October 26, 2020.

       On October 25, 2020, the United States District Court for the District of Massachusetts

stayed the effective date of the 2020 Rule. Mass. Fair Hous. Ctr. v. United States Dep’t of Hous.

& Urban Dev., No. CV 20-11765-MGM, 2020 WL 6390143 (D. Mass. Oct. 25, 2020). On

December 23, 2020, the Defendants filed a Notice of Appeal of that decision; however, on

February 9, 2021, Defendants filed a motion to voluntarily dismiss their appeal and do not seek

to lift the stay in the Massachusetts court during the pendency of that case.

       On January 26, 2021, President Biden issued a Presidential Memorandum that instructed

that HUD

       shall also, as soon as practicable, take all steps necessary to examine the effects of
       the September 24, 2020, rule entitled “HUD’s Implementation of the Fair
       Housing Act’s Disparate Impact Standard” (codified at part 100 of title 24, Code
       of Federal Regulations), including the effect that amending the February 15, 2013,
       rule entitled “Implementation of the Fair Housing Act’s Discriminatory Effects
       Standard” has had on HUD’s statutory duty to ensure compliance with the Fair
       Housing Act. Based on that examination, the Secretary shall take any necessary
       steps, as appropriate and consistent with applicable law, to implement the Fair
       Housing Act’s requirements that HUD administer its programs in a manner that
       affirmatively furthers fair housing and HUD’s overall duty to administer the Act
       (42 U.S.C. 3608(a)) including by preventing practices with an unjustified
       discriminatory effect.

Redressing Our Nation's and the Federal Government’s History of Discriminatory Housing

Practices and Policies, 86 FR 7487 (published Jan. 29, 2021). HUD is already actively

considering its path forward in implementing the Presidential directive.
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    II.      ARGUMENT

          This Court has the inherent authority to “control the disposition of the causes on its

docket with economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am.

Co., 299 U.S. 248, 254 (1936). That broad discretion includes the “power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for itself,

for counsel, and for litigants.” United States v. W. Elec. Co., 46 F.3d 1198, 1207 n.7 (D.C. Cir.

1995). “‘In deciding whether to stay proceedings, courts in the Second Circuit examine the

following five factors: (1) the private interests of the plaintiffs in proceeding expeditiously with

the civil litigation as balanced against the prejudice to the plaintiffs if delayed; (2) the private

interests of and burden on the defendants; (3) the interests of the courts; (4) the interests of

persons not parties to the civil litigation; and (5) the public interest.’” United Rentals, Inc. v.

Chamberlain, No. 3:12-CV-1466 CSH, 2013 WL 6230094, at *3 (D. Conn. Dec. 2, 2013)

(quoting Catskill Mts. Chapter of Trout Unlimited, Inc. v. U.S. EPA, 630 F.Supp.2d 295, 304

(S.D.N.Y. 2009)).

          The interests of efficiency and judicial economy make it appropriate for this Court to

enter a 60-day stay. HUD is actively reconsidering whether the challenged 2020 Rule furthers

fair housing and prevents unjustified discriminatory housing effects, which goes to the heart of

Plaintiffs’ claims in this case. See Compl. ¶¶ 1–18. HUD requires sufficient time to determine

how to proceed on this important issue, especially where new leadership for the agency is still

arriving, and so requests a 60-day stay to engage in the administrative process implementing the

Presidential directive. Defendants propose to update this Court on the expected timing of any

further government action and any next steps in this case by filing a status report at the end of

that 60-day period. Further, Plaintiffs will not be prejudiced by the proposed stay in this case.
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The Massachusetts District Court’s stay remains in effect and Defendants commit to not seeking

to lift that stay during the pendency of any stay in this case.

       In light of the posture of the stayed 2020 Rule and HUD’s ongoing efforts to implement

the Presidential directive, Defendants respectfully request a 60-day stay. This is Defendants’

first stay motion; Defendants previously filed two extension motions in this case. Defendants

conferred with Plaintiffs about this motion pursuant to D. Conn. L. Civ. R. 7(b)(2). Plaintiffs

would consent to a 30-day stay but oppose a 60-day stay.



                                                       Respectfully submitted,

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                                                       Deputy Assistant Attorney General

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                                                       /s/ Brian C. Rosen-Shaud_________
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